
666 S.E.2d 488 (2008)
SAFT AMERICA, Inc.
v.
PLAINVIEW BATTERIES, INC., Energex Batteries, Inc., Bernie R. Erde, and Russell J. Bleeker.
No. 204A08.
Supreme Court of North Carolina.
August 26, 2008.
Anthony T. Lathrop, Michael T. Champion, Charlotte, for Saft America.
Lawrence D. McMahon, Jr., Morganton, Cameron Gilbert, for Energex Batteries, et al.
Russell J. Bleeker, Pro Se.
Prior report: ___ N.C.App. ___, 659 S.E.2d 39.

ORDER
Upon consideration of the petition for discretionary review, filed by Defendants on the 15th day of May 2008 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is

*489 Allowed by order of the Court in conference, this the 26th day of August 2008."
TIMMONS-GOODSON, J., recused.
Accordingly, the new brief of the Defendants shall be filed with this Court not more than 30 days from the date of certification of this order.
Defendants shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
